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 15
 16                        UNITED STATES DISTRICT COURT
 17                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18
      BLACKBERRY LIMITED,                      Case No. 2:19-cv-01444-GW-KS
 19   a Canadian corporation,
 20                     Plaintiff,             JOINT STIPULATION AND
                                               REQUEST TO STAY
 21              v.                            PROCEEDINGS
 22   TWITTER, INC.,
      a Delaware corporation,
 23
                        Defendant.
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                                               1        CASE NO. 2:19-CV-01444-GW-KS
                                JOINT STIPULATION AND REQUEST TO STAY PROCEEDINGS
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  1        WHEREAS, on June 4, 2019, Plaintiff BlackBerry Limited (“Blackberry”)
  2 filed a First Amended Complaint, Docket No. 36;
  3        WHEREAS, on June 25, 2019, Defendant Twitter, Inc. (“Twitter”) filed a
  4 Motion to Dismiss the First Amended Complaint, Docket No. 39;
  5        WHEREAS, on October 2, 2019, the Court entered a Final Ruling on Twitter’s
  6 Motion to Dismiss, Docket No. 51, dismissing BlackBerry’s claims related to U.S.
  7 Patent Nos. 8,676,929 (Count I), 8,296,351 (Count II), 8,572,182 (Count VI), and
  8 8,825,777 (Count VII);
  9        WHEREAS, on October 31, 2019, Twitter filed its Answer and Counterclaims
 10 with respect to BlackBerry’s claims related to U.S. Patent Nos. 9,349,120, 9,021,059,
 11 and 8,286,089, Docket No. 54, while BlackBerry filed a Notice of Voluntary
 12 Dismissal of BlackBerry’s claims related to the same three patents under Fed. R. Civ.
 13 P. 41(a)(1), Docket No. 55, and these filings may raise legal issues that could require
 14 Court resolution absent agreement by the parties;
 15        WHEREAS, the parties agree that there has been no final judgment under Rule
 16 58(a) of the Federal Rules of Civil Procedure, and that the 30-day time period to file
 17 a notice of appeal will commence only upon entry of such a final judgment;
 18        WHEREAS, the parties have commenced settlement discussions in an attempt
 19 to resolve this and any other potential action involving assertion of patent rights
 20 between the parties, and are in mutual agreement that a stay of these proceedings
 21 would be beneficial while the parties engage in these discussions;
 22        WHEREAS, the parties therefore have agreed to a stay of these proceedings
 23 and any new action involving assertion of patent rights against each other, effective
 24 as of the filing date of this stipulation and continuing through January 6, 2020 (the
 25 “Standstill Period”).
 26        It is hereby STIPULATED and AGREED by and between the parties that:
 27        1.     All proceedings in this action are stayed and all deadlines, including
 28 deadlines arising under the Federal Rules of Civil Procedure and Federal Rules of
                                              2        CASE NO. 2:19-CV-01444-GW-KS
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  1 Appellate Procedure, either have not triggered or, if they have been triggered, are
  2 tolled for the Standstill Period;
  3         2.    During this Standstill Period, neither party will make further filings with
  4 the Court (apart from a motion to modify the Court’s Order on the Joint Stipulation
  5 and Request to Stay Proceedings) in this action or initiate any new action involving
  6 assertion of patent rights against each other;
  7         3.    The parties request that, apart from entering an Order on this Joint
  8 Stipulation and Request to Stay Proceedings, the Court take no further action as to
  9 any issues pending before or during the Standstill Period, and that it defer entering a
 10 final judgment; and
 11         4.    After the expiration of this Standstill Period, the parties may pursue any
 12 and all rights and remedies available under the law in this or any other potential action
 13 between the parties; and for the avoidance of any doubt, the parties expressly reserve
 14 all rights and remedies, and expressly agree to no waiver of any deadlines.
 15         IT IS SO STIPULATED.
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                                              3        CASE NO. 2:19-CV-01444-GW-KS
                               JOINT STIPULATION AND REQUEST TO STAY PROCEEDINGS
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                                           4        CASE NO. 2:19-CV-01444-GW-KS
                            JOINT STIPULATION AND REQUEST TO STAY PROCEEDINGS
Case 2:19-cv-01444-GW-KS Document 56 Filed 11/11/19 Page 5 of 6 Page ID #:870




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                                           5        CASE NO. 2:19-CV-01444-GW-KS
                            JOINT STIPULATION AND REQUEST TO STAY PROCEEDINGS
Case 2:19-cv-01444-GW-KS Document 56 Filed 11/11/19 Page 6 of 6 Page ID #:871




  1                                   ATTESTATION
  2        Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, James R. Asperger, attest that
  3 concurrence in the filing of this document has been obtained from each of the other
  4 signatories.
  5 Dated: November 11, 2019
  6                                     By /s/ James R. Asperger
  7                                        James R. Asperger
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                              JOINT STIPULATION AND REQUEST TO STAY PROCEEDINGS
